Case No. 1:08-cv-01732-CMA-CBS Document1 filed 08/01/08 USDC Colorado pg1of4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

FILED
(CCV - UNITED STATES DISTRICT coy
RT
Civil Action No. 08 - (0 1 7 3 2 DENVER, COLORADO

(To be supplied by the court) AUG -1 anna
GREGORY c. LANGHARA
JOE NUNEZ , Appttcamt—————

FMCC WARDEN RON LEYBA, AND THE ATTORNEY GENERAL

FOR THE STATE OF COLORADO,
, Respondent(s).

PRISONER'S MOTION AND AFFIDAVIT
FOR LEAVE TO PROCEED PURSUANT TO 28 U.S.C. § 1915
IN A HABEAS CORPUS ACTION

I request leave to commence this habeas corpus action without prepayment of fees or

security therefor pursuant to 28 U.S.C. § 1915. In support of my request, I declare that:

1. Iam unable to pay such fees or give security therefor.

2. Tam entitled to redress.

3. Ihave 0.00 in my prison account. (If the amount in your prison
(amount) account exceeds $50.00, you must pay the $5.00 filing
fee.)

(Rev. 4/15/02)

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4, My other assets and their value are listed below: (attach an additional page if necessary)

(Assets may include income trom employment, rent payments, interest or dividends, pensions, annuities, life
insurance payments, Social Security, Veteran's Administration benefits, disability pensions, Worker's
Compensation, unemployment benefits, gifts or inheritances, cash, funds in bank accounts, real estate,

stocks, bonds, notes, automobiles or other valuable property (excluding ordinary household furnishings and
clothing), or any other source of income.)

PETITIONER LACKS ANY FINANTIAL MEANS TO PAY THE FEES AND COSTS OF THIS
ACTION, EXCEPT MONIES IN HIS PRISON ACCOUNT ATTACHED HEREIN

DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that the information in this motion and affidavit is true
and correct. See 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executedon 1/37 9 9S
(Date)

Cel She 22>

{/ (Prisoner’s Origina? Signature}

Required Certification

You must attach to this motion and affidavit a certificate of the warden or other
appropriate officer of the institution in which you are confined as to the amount of money or
securities currently on deposit in your inmate trust fund account (or institutional equivalent),

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= INMATE BANKING ======= TNMATE BANKING HISTORY ==<====<<= 07/02/2008 = Page 1
Account: 128687 NUNEZ, JOB FOUR MILE FMCC/UNITB
To:From Dates 01/02/2008; 07/02/2008
Trans Date Description Deposits Withdrawls Balance Loc
01/02/2008 BALANCE AS OF 01/02/2008 0.11
01/07/2008 1 STUDENT 9.27 9.38 FC
01/15/2008 Canteen Order #5623204 3.66 5.72 FC
01/22/2008 Canteen Order #5636530 3.57 2,15 FC
01/30/2008 XEROX-DEBIT 2,00 0.15 FC
01/30/2008 POSTAGE--DEBIT 4,65 ~4.50 FC
01/31/2008 RESTITUTION-O5CR9 1.85 -6.35 FC
02/05/2008 1 STUDENT 6,08 -0.27 FC
02/05/2008 1 LEE UNASSIGNED 1.61 1.34 FC
02/25/2008 KEY/LOCK DEBIT 20.90 ~18.66 FC
02/29/2008 RESTITUTION-O5CR9 1.54 -20.20 FC
03/07/2008 1 LEE UNASSIGNED 4.83 ~1i5.37 FC
04/07/2008 1 UTILITY WORKER I 8.40 -6.97 FC
04/07/2008 1 SABO UNASSIGNED 1.61 -5.36 FC
04/08/2008 Canteen Order #5792896 2.18 -7,54 FC
04/11/2008 PHOTOS - DEBIT 1.75 -9,29 FC
04/15/2008 Canteen Order #5812611 1.30 -10.59 Fc
04/26/2008 MEDICAL SELFDEMER 10.60 -20,59 FC
04/30/2008 RESTITUTION-O5CRS3 2.00 ~22,59 FC
05/06/2008 1 UTILITY WORKER T 13,20 -9.39 FC
05/23/2008 Canteen Order #5900229 3.66 -13.05 FC
05/30/2008 RESTITUTION-O5CR9 2.64 -15.69 FC
06/06/2008 1 STUDENT 7,80 ~7.89 FC
06/06/2008 21 UTILITY WORKER I 5.40 -2.49 FC
06/10/2008 Canteen Order #5931211 0.66 -3.15 FC
06/17/2008 Canteen Order #5947143 3.49 -6.64 FC
06/30/2008 RESTITUTION-O5CR9 2.64 -9,28 FC
07/02/2008 BALANCE AS OF 07/02/2008 -9,28
Total money order in hold: 0,00
Current balance as of 07/02/2008: -9,.28
“+Reserved/Encumbered Montes: 000
Available money as of 07/02/2008: 0.12

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CERTIFICATE OF SERVICE:

I hereby certify that the foregoing Petition for Habeas Corpus and Motion to
proceed In Forma Pauperis was mailed to the respondent's counsel at 1525 Sher-
man St., 5th. Floor, Denver, Colo. 80203 on 7 .30-O8 2008

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Joe Nunez #128687
